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 4                             UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6
     ALLISON LEE PROFFITT,
 7                                                          Case No. 2:24-cv-00805-RFB-NJK
            Plaintiff(s),
 8                                                                         Order
     v.
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     CSAA GENERAL INSURANCE
10   COMPANY,
11          Defendant(s).
12         To date, the parties have not filed a stipulated discovery plan as required by Local Rule 26-
13 1(a). The parties must file a joint discovery plan by June 28, 2024.
14         IT IS SO ORDERED.
15         Dated: June 21, 2024
16                                                               ______________________________
                                                                 Nancy J. Koppe
17                                                               United States Magistrate Judge
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